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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA                   No. CR 18-599 VC
13                        Plaintiff,           REPLY BRIEF IN SUPPORT OF SECOND
                                               MOTION TO COMPEL THE PRODUCTION
14      v.                                     OF REPORTS RELATED TO THE ACTIONS
                                               AND COMMUNICATIONS OF
15   ISAI VILLAGOMEZ,                          GOVERNMENT INFORMANT, CELLULAR
                                               TELEPHONE NUMBERS BELONGING TO
16                        Defendant.           INFORMANT, AND IMPEACHMENT
                                               MATERIAL RELATED TO INFORMANT
17
                                               Hearing Date: February 15, 2022
18                                             Hearing Time: 2:30 pm
                                               Court:        Hon. Vince Chhabria
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 1 INTRODUCTION

 2            The Court should re-order the production of the requested materials requested by Mr.

 3 Villagomez. To be clear, the Court has already ordered the production of the vast majority of the

 4 documents Mr. Villagomez now seeks. See Dkt. 74, Dkt. 78. As to Categories 1, 2 and 3, the

 5 government’s response is contradictory, incomplete and sketchy given the record. As to

 6 Category 4, general principles of due process govern and the government cannot have it both

 7 ways; it cannot both rely on the CI’s credibility when arguing lack of inducement, then deny Mr.

 8 Villagomez impeachment materials about that same CI that would tend to cause the jury to
 9 believe Mr. Villagomez’ testimony that he was induced.

10            For these reasons, the Court should order production of all 5 categories of requested

11 information. 1

12 ARGUMENT

13       I.   CATEGORIES 1, 2, AND 3
14            The government first states, and Special Agent Espinoza affirms, that he is unaware of

15 the existence of any recorded communications between the CI and himself. Espinoza Decl. at ¶

16 10. Although Mr. Villagomez’ request included text messages between Agent Espinoza and the

17 CI, the response did not specify “text message, the AUSAs in the case, specifically Zachary

18 Abrahamson, have now confirmed that the response includes text messages. See Reply
19 Declaration of Elizabeth Falk (“Falk Decl.”) at ¶ 2.

20            On the other hand, with respect to Category 1 and 2 (seeking law enforcement reports and

21 records that relate to the charged case authored by Southern California federal law enforcement

22 or cross-designated Task Force Officers), Officer Espinoza does not aver that no such reports

23 exist. Moreover, in resisting production, the government writes “there is no allegation that those

24 [Coast Guard] offices or agents participated in the instant investigation.” Gov. Resp. at 4:8-10.

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26   With respect to Category 5, the government has voluntarily produced the information, although
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   the information provided by TFO Elmore conflicts with the information he provided during the
27 evidentiary hearing on Mr. Villagomez’ motion to suppress. See Dkt. 118 at 335:11-19 (TFO
   Elmore testimony that the CI “would call from several different phones” and “had lots of
28 different phone numbers.”)
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 1 This contention is contradicted by Agent Espinoza’s declaration, who states that the CI told him

 2 about an “unsuccessful attempt to purchase narcotics from a potential target in Southern

 3 California” and that Agent Espinoza told the CI “he had no objection to the CI completing the

 4 transaction in Northern California.” Espinoza Decl. ¶ 9. The instant motion to compel seeks the

 5 production of all law enforcement reports that reflect the CI’s activities with respect to this

 6 known “failed transaction” or any law enforcement monitoring of the “failed transaction” that

 7 the government now contends Mr. Villagomez participated in.

 8          The requested law enforcement reports are standard issue Rule 16 material and Mr.

 9 Villagomez submits it is highly odd that, if no reports exist, that Agent Espinoza has not

10 represented such. These reports, if they exist, are also within the scope of this Court’s April 15,

11 2021 Order. See Dkt. 74. Text message evidence further demonstrate that the DEA in NDCA

12 was well aware that this CI was working with the Los Angeles Coast Guard prior to the Court’s

13 April 15, 2021 Order, and that at least one agent of the NDCA DEA knew that Agent Espinoza

14 was a potential source of information about the CI’s work for the government. Falk Decl. ¶ 4-6.

15          Given that the government will need to call Agent Espinoza at this trial and Agent

16 Espinoza appeared to be aware of (and had texting relationships) with DEA Special Agents that

17 the CI was working with in Northern California, it is highly likely that Special Agent Espinoza

18 has the same relationships with DEA agents the CI was working with in Southern California.
19 Falk Decl., Exhibit A (filed under seal); see also id. at ¶ 6. Because the government is now

20 working with Special Agent Espinoza on this case, its claim to have “no knowledge” about the

21 potential location of Southern California-based law enforcement reports related to this case is

22 specious. See United States v. Bryan, 868 F.2d 1032, 1036 (9th Cir 1989)(“the scope of the

23 government’s obligation under Rule 16(a)(1)(C) should turn on the extent to which the

24 prosecutor has knowledge of and access to the documents sought by the defendant in each

25 case.”) The Court should, at minimum require the government to inquire, through Agent

26 Espinoza, whether any Los-Angeles based law enforcement agent known to Agent Espinoza as

27 having worked with the CI from August to November, 2018 is in possession of any reports,

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 1 recorded communications, or other documents or records related to this case that the government

 2 is required to produce pursuant to Rule 16.

 3    II.   UNDER BOTH BRADY AND GIGLIO, THE COURT SHOULD ORDER THE
            PRODUCTION OF EVIDENCE RELATED TO BIAS AND THE MOTIVES OF
 4          THE GOVERNMENT INFORMANT TO INDUCE CRIMINAL ACTIVITY
 5          Regarding Mr. Villagomez’ requests for various categories of CI impeachment evidence

 6 (Request #4), the government asserts that it need not produce Giglio evidence for non-testifying

 7 witnesses. Under Brady v. Maryland, 373 U.S. 83 (1963), however, the government has an

 8 overarching obligation to turn over all evidence “favorable to the accused” that is “material to
 9 either guilt or punishment.” Id. at 87. “Impeachment evidence is exculpatory evidence within

10 the meaning of Brady.” United States v. Blanco, 392 F.3d 382, 387 (9th Cir. 2004)(citing Giglio

11 v. United States, 405 U.S. 150, 154 (1972) and United States v, Bagley, 473 U.S. 667, 676

12 (1985). “Brady/Giglio information includes ‘material that bears on the credibility of a significant

13 witness in the case.’” Id. (citing United States v. Brumel-Alvarez, 991 F.2d 1452, 1461 (9th Cir.

14 1993)). “The government’s obligations under Brady are ‘not confined [however] to evidence

15 that affirmatively proves a defendant innocent: even if evidence is merely ‘favorable to an

16 accused’ its suppression violates Brady if prejudice results.” United State v. Welton, 2009 WL

17 2390848 (C.D. Cal. 2009) at *6 (citing Gantt v. Roe, 389 F.3d 908, 912 (9th Cir. 2004)).

18          Brady and its progeny are not limited to testifying witnesses. See United States v.

19 Rodriguez, 482 Fed.Appx. 231, 236 (9th Cir. 2012)(unpublished)(opining that the fact that a

20 confidential informant did not testify at a trial did not end the inquiry as to the requirement that

21 the prosecutor produce impeachment materials, as “there is persuasive authority for the

22 proposition that Brady and related obligations extend to non-testifying witnesses”)(citing United

23 States v. Jackson, 345 F.3dd 59, 70 (2nd Cir. 2003)(finding undisclosed materials that could have

24 been used by defendants to impeach the credibility of a deceased, non-testifying informant met

25 the first prong of a Brady violation claim, but upholding conviction due to the fact that

26 undisclosed materials would not have resulted in a different outcome given overwhelming

27 evidence of guilt).

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 1         Although the undersigned has not been able to locate any cases in the Ninth Circuit where

 2 a deceased informant’s statement have been used at trial, or where a deceased informant’s

 3 credibility is at issue in an entrapment defense, prosecutors in general have an obligation

 4 under Brady to disclose material information that bears on the credibility of government

 5 informants. Here, even if the confidential will not be testifying, this is not a case where the

 6 informant’s presence is incidental or superfluous to the charged conduct. Unlike cases where a

 7 confidential informant merely passes information on to undercover agents, who then

 8 independently adduce evidence against a suspect, here the confidential informant is central to the
 9 charged transaction. In an attempt to defeat the “inducement” prong of the entrapment defense,

10 the government must necessarily rely on the credibility of the informant at issue, even when

11 deceased. In this vein, the motives of the CI to induce and encourage non-disposed persons to

12 commit crimes – including payment/reward structures and the compensation and benefits

13 offered to him in exchange to bring targets to law enforcement’s attention is certainly evidence

14 “favorable to the accused” and is highly “material” to an issue related to innocence in connection

15 with an entrapment defense.

16         Ordinarily, an informant’s arrangement with the government falls within the Brady rule

17 (see United States v. Joseph, 533 F.2d 282, 286 (9th Cir. 1976)) and should be disclosed here

18 because the requested evidence clearly can be used to impeach the confidential informant by
19 means of his bias and self-interest, as well as motive to induce Mr. Villagomez. See Bagley, 473

20 U.S. at 676. Because “the Brady rule is based on the requirement of due process.” Bagley, 473

21 U.S. at 675, its principles should apply in full force here, regardless of the informant’s status as

22 deceased. At the upcoming trial, the government will rest its case on an assumption that the

23 deceased informant performed his duties legally and within the boundaries of his cooperation

24 agreement. Given same, the Court should not permit the government to then thwart Brady’s

25 mission and hide evidence that suggests the CI had a strong motive to ensnare as many

26 defendants as possible into criminal charges.

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     III.   FEDERAL RULE OF EVIDENCE 806 MAY ALSO APPLY AT TRIAL WITH
 1          RESPECT TO REQUEST # 4.
 2          Although the parties agree here that the informant is a non-testifying witness by virtue of

 3 the fact that the informant is deceased, there is a significant disagreement about whether or not

 4 the prosecutors will seek to admit any of the informant’s statements for their truth. To the extent

 5 the government attempts to admit the non-testifying CI’s statements for their truth about things

 6 that supposedly happened or did not happen surrounding Mr. Villagomez, he should be permitted

 7 to attack the credibility of the informant. 2 At trial, however, it will be too late to order the

 8 government to produce impeachment materials related to the CI. A far better solution is to order
 9 the government to produce the requested material. Issues related to the potential admissibility of

10 the produced material can be sorted out later – particularly when the CI is now deceased and

11 Roviaro privilege no longer applies.

12
     CONCLUSION
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            For the reasons stated, the Court should order production of the 5 requested categories of
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     documents and materials forthwith.
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            DATED: February 14, 2022
16                                                          Respectfully submitted,
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                                                            GEOFFREY A. HANSEN
18                                                          Acting Federal Public Defender

19                                                          /s/
20                                                          ELIZABETH FALK
                                                            Assistant Federal Public Defender
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23   2 The government is correct that the undersigned inadvertently cited the non-final, initial version
     of the Ninth Circuit opinion in United States v. Becerra 992 F.2d 960, 965 (9th Cir. 1993) due to
24   the fact that she did not realize the opinion had been amended at a later time on the cited issue.
     The citation reference in the Opening Motion, present in the May 5, 1993 version of the opinion,
25
     was altered in the final, amended version of July 16, 1993. In the amended version, the Court
26   reversed course on that portion of the opinion and upheld the denial of a motion to compel
     impeachment evidence related to a non-testifying government informant. In the amended
27   version, the Ninth Circuit disagreed with the district court’s reasoning but ultimately upheld the
     denial upon concluding that the non-testifying witness’ statement was not hearsay. The
28   undersigned regrets the error.
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